Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21   Page 1 of 14 PageID 9




                     Exhibit 1
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                                       Page 2 of 14 PageID 10
                                                                                                       USOO67.11204B2

(12) United States Patent                                                          (10) Patent No.:                   US 6,711,204 B2
       Schilling                                                                   (45) Date of Patent:                        Mar. 23, 2004

(54) CHANNEL SOUNDING FOR ASPREAD-                                                     5,734,639 A * 3/1998 Bustamante et al. ........ 370/208
        SPECTRUM SIGNAL                                                                5,754,541. A * 5/1998 Glisic et al. ................ 370/355
                                                                                       6,049,536 A * 4/2000 Ariyoshi et al. ............ 370/355
(75) Inventor: Gardens,
               Donald L.FLSchilling,
                            (US)
                                     Palm Beach                                          2.
                                                                                        2Y- - 2
                                                                                                  A      3.                t al
                                                                                                                      aS C a
                                                                                       6,101,168 A       8/2000 Chen et al.
                                                                                       6.215,811 B1      4/2001 Y
(73) Assignee: Linex Technologies, Inc., West Long                                     6.219,378 B1 * 4/2001 Wo 375/231
                       Branch, NJ (US)                                                 6,222,833 B1      4/2001 Seo
  c:                                           -                                       6,226,316 B1      5/2001 Schilling et al.
(*) Notice:            Subject to any disclaimer, the term of this                     6,269,092 B1 * 7/2001 Schilling .................... 370/342
                       patent is extended or adjusted under 35                       6,278,742 B1 * 8/2001 Sydon et al. ............... 375/285
                       U.S.C. 154(b) by 339 days.                                    6,519,467 B1 * 2/2003 Strakovsky ................. 455/462
                                                                                * cited by examiner
(21) Appl. No.: 09/908,639
                                                                                Primary Examiner Mohammad H. Ghayour
(22) Filed:           Jul. 19, 2001                                             Assistant Examiner Dong X. Nguyen
(65)                  Prior Publication Data                                    (74) Attorney, Agent, or Firm-David Newman Chrtd.
        US 2001/0040878 A1 Nov. 15, 2001                                        (57)                      ABSTRACT
                 Related U.S. Application Data                                  An   improvementSystem,
                                                                                multiple-access    to a using
                                                                                                         spread-spectrum code-division
                                                                                                              a channel Sounding Signal
(63) Continuation of application No. 09/231,015, filed on Jan. 14,              from a base Station (BS) to provide initial transmitter power
     1999, now Pat. No. 6,269,092.                                              levels for remote stations (RS). The base station transmits
             7                                                                  BS-Spread-spectrum Signals at a first frequency and receives
(51) Int. Cl." ................................................ H04B 71216      RS-spread-spectrum Signals, which are transmitted by the
(52) U.S. Cl. ....................................................... 375/142   remote Stations at the Second frequency. The base Station
(58) Field of Search ................................. 375/140, 142,            transmits a BS-channel-Sounding Signal at the same carrier
                      375/143,136, 147, 148; 370/335, 342,                      frequency being used by the remote Stations. The bandwidth
                                                 329, 330; 455/69, 522          of the BS-channel-Sounding Signal is much less than the
                                                                                bandwidth of the BS-channel-spread-spectrum Signal. Each
(56)                       References Cited                                     remote Station tracks the BS-channel-Sounding Signal, for
                  U.S. PATENT DOCUMENTS                                         adjusting the initial RS-power level.
       5,471,650 A * 11/1995 Vexler et al. ................. 455/69                               45 Claims, 5 Drawing Sheets



                                                                                                      f1 AND f2
                                                                                                              f
                                                                                                                  2                        12
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21       Page 3 of 14 PageID 11

U.S. Patent         Mar. 23, 2004       Sheet 1 of 5          US 6,711,204 B2




                                                                   12


                   11




                                    FIG.
                                    PRIOR ART




                                    FIG.2
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21   Page 4 of 14 PageID 12

U.S. Patent         Mar. 23, 2004   Sheet 2 of 5             US 6,711,204 B2




                                                   -
                                                        c
                                                   s's S
                                                   M g
                                                       O
                                                       (W)




                                                                 s
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                Page 5 of 14 PageID 13

U.S. Patent              Mar. 23, 2004           Sheet 3 of 5          US 6,711,204 B2




                                          31

            DATA       SPREAD-SPECTRUM
                           RECEIVER


                            FREQUENCY
                                ADJUST
     TO                         CIRCUIT
     TRANSMITTER
                                POWER
                          ADJUST CIRCUI


                                               FIG.4




                     FREQUENCY                  SIGNAL
                      ADJUST
                      CIRCUIT
                                                SOURCE


                       POWER
                   ADJUST CIRCUIT

                                                FIG.5
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21   Page 6 of 14 PageID 14

U.S. Patent         Mar. 23, 2004   Sheet 4 of 5              US 6,711,204 B2




                                                   09




                                                        97f
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21   Page 7 of 14 PageID 15

U.S. Patent         Mar. 23, 2004   Sheet 5 of 5          US 6,711,204 B2




                                                      s




                                                          s
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                             Page 8 of 14 PageID 16

                                                      US 6,711,204 B2
                               1                                                                       2
        CHANNEL SOUNDING FOR A SPREAD                                    to Stop increasing the power level, unless otherwise Signaled
              SPECTRUM SIGNAL                                            to do so. While this approach works, it takes considerable
                                                                         time delay, particularly if packet transmissions are
   This patent Stems from a continuation application of U.S.             employed. Thus, a ten millisecond packet might last five
patent application Ser. No. 09/231,015, and filing date of          5    Seconds.
Jan. 14, 1999, entitled SPREAD-SPECTRUM CHANNEL                                      SUMMARY OF THE INVENTION
SOUNDING by inventor, DONALD L. SCHILLING,                                  A general object of the invention is to permit a remote
which issued on Jul. 31, 2001, as U.S. Pat. No. 6,269,092.               Station to have knowledge, a priori to transmitting, of a
The benefit of the earlier filing date of the parent patent              proper power level to initiate transmission.
application is claimed for common Subject matter pursuant                   Another object of the invention is to measure and initially
to 35 U.S.C. S.120.                                                      correct or compensate for Doppler shift in carrier frequency
          BACKGROUND OF THE INVENTION                                    caused by the motion of the remote Station.
                                                                            According to the present invention, as embodied and
  This invention relates to code-division-multiple-acceSS           15   broadly described herein, an improvement is provided to a
communications, and more particularly to power Settings for              spread-spectrum System which has a base station (BS) and
a remote Station, when initiating communications with a                  a plurality of remote stations (RS). The base station has a
base Station.                                                            BS-Spread-spectrum transmitter and a BS-Spread-spectrum
        DESCRIPTION OF THE RELEVANT ART                                  receiver. The BS-Spread-spectrum transmitter transmits,
                                                                         using radio waves, a plurality of BS-Spread-spectrum Signals
   The terrestrial communications channel is typically non               at a first frequency. The BS-Spread-spectrum receiver
reciprocal. If a base Station 12 transmitted, as shown in FIG.           receives, at a Second frequency, a plurality of RS-spread
1, at a first power level P and at a first frequency f, a first          Spectrum signals from the plurality of remote Stations. The
Signal to a remote Station 11, then the received power at the            plurality of BS-Spread-spectrum signals at the first fre
remote station 11 might be P. If the remote station 11              25   quency are outside the correlation bandwidth of the plurality
transmitted, at the first power level P. and at a second                 of RS-spread-spectrum signals at the Second frequency.
frequency f, where the Second frequency f. is displaced                  Each of the plurality of remote Stations has an RS-spread
from the first frequency f. by more than a correlation                   Spectrum transmitter for transmitting an RS-spread
bandwidth, then the received power at the base station 12                Spectrum Signal at the Second frequency.
might be P1, which is Statistically independent of the                      The improvement includes a BS transmitter and an
received power P, at the remote station 11. The statistical              interference-reduction Subsystem, located at the base Station
independence, or non-reciprocal nature of the terrestrial                receiver. The BS transmitter transmits, using radio waves, a
communications channels, is of major concern to users of a               BS-channel-Sounding Signal at the Second frequency. The
code-division-multiple-access (CDMA) system.                             BS-channel-Sounding Signal has a bandwidth no more than
  In a direct-sequence (DS) CDMA system, a remote sta               35   twenty percent of the Spread-spectrum bandwidth of the
tion's spread-spectrum Signal, received at a base Station, is            plurality of RS-spread-spectrum Signals, and in a preferred
embedded in the interference caused by other users. Power                embodiment, the BS-channel-Sounding Signal has a band
control of the remote Stations is therefore necessary for                width no more than one percent of the spread-spectrum
ensuring that during communications at the base Station, the             bandwidth of the plurality of RS-spread-spectrum signals.
power level received from each remote Station is approxi            40      At each remote Station, the improvement includes an
mately the same as from other remote Stations communi                    RS-power-level circuit and an RS receiver which has an RS
cating with the base Station. Many elaborate Systems exist               demodulator. The improvement at the remote Station also
for power control in a DS-CDMA system, where the base                    may include a frequency-adjust circuit. The RS receiver
Station determines the power levels of a received signal and             receives the BS-channel-Sounding Signal at the Second fre
interference, processes this information and periodically           45   quency. The RS demodulator tracks the BS-channel
communicates to a remote Station to increase or decrease its             Sounding Signal, and outputs an RS-receiver Signal. Using
power level.                                                             the receiver power level of the RS-receiver signal, the
  When a remote Station is about to initiate its transmission,           RS-power-level circuit adjusts an RS-power level of the
the remote Station has little information as to what power               RS-spread-spectrum transmitter located at the remote Sta
level to transmit. Some investigators have Suggested to use         50   tion. If the frequency-adjust circuit were employed, then the
open-loop power control, in which the remote Station moni                frequency-adjust circuit, using the received RS-receiver
tors the power received from the base Station transmitter at             Signal as a reference, compensates to the first frequency the
the first frequency f, and from the monitored power, the                 RS-Spread-spectrum signal of the RS-Spread-spectrum
remote Station Sets its initial power level of its transmitter.          transmitter located at the remote Station.
The remote Station, however, transmits at a Second fre              55      The interference-reduction Subsystem is located at the
quency f. which is not within the correlation bandwidth of               base Station and at a front end to the BS-Spread-spectrum
the first frequency f. Since the communications channel at               receiver. The interference-reduction Subsystem reduces, at
the first frequency f. is statistically independent from the             the Second frequency, the BS-channel-Sounding Signal from
communications channel at the Second frequency f, the                    the plurality of RS-spread-spectrum Signals arriving at the
open-loop power control does not work, or does not work             60   base Station.
well.                                                                      Additional objects and advantages of the invention are Set
   Another approach to power control is to initiate transmit             forth in part in the description which follows, and in part are
ting a remote Station at a low power level, and periodically             obvious from the description, or may be learned by practice
increase the power level of the remote Station until a signal            of the invention. The objects and advantages of the invention
is received at the base station. When the power level from          65   also may be realized and attained by means of the instru
the remote Station is Sufficient for the base Station to receive,        mentalities and combinations particularly pointed out in the
then the base Station Sends a response to the remote Station             appended claims.
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                            Page 9 of 14 PageID 17

                                                     US 6,711,204 B2
                               3                                                                       4
         BRIEF DESCRIPTION OF THE DRAWINGS                              from each remote Station is approximately the same? If the
   The accompanying drawings, which are incorporated in                 average power received at the base Station is the Same for
and constitute a part of the Specification, illustrate preferred        each remote Station, then the capacity is limited by the
embodiments of the invention, and together with the                     number of remote Stations transmitting to the base Station. If,
description Serve to explain the principles of the invention.           however, a particular remote Station is Sufficiently close to
                                                                        the base Station, and its transmitter power can block recep
   FIG. 1 illustrates a prior art remote Station communicating          tion of other remote Stations, then capacity may be limited
with a base station (BS);                                               Severely to only the remote Station closest to the base Station.
   FIG. 2 illustrates a remote Station communicating with a                The invention overcomes the power control problem by
base Station, with channel Sounding;                                    permitting a remote Station to have knowledge, a priori to
   FIG. 3 is a block diagram illustrating a base Station signal         transmitting, of a proper power level to initiate transmission.
with channel Sounding added to a base Station Spread                    After the initial power level is used, closed-loop power
Spectrum transmitter;                                                   control, which is well-known in the art, can be employed.
   FIG. 4 is a block diagram illustrating the improvement to       15
                                                                          An additional or alternative benefit from the invention is
the remote Station spread-spectrum receiver for the                     more accurate frequency control at a remote Station. The
BS-channel-Sounding Signal;                                             carrier frequency transmitted from a remote Station may be
   FIG. 5 is a block diagram illustrating the improvement to            shifted at the base station due to Doppler shift in carrier
the remote Station spread-spectrum transmitter;                         frequency caused by motion. This invention initially cor
   FIG. 6 is a block diagram showing an interference                    rects or compensates for Doppler shift in carrier frequency
reduction Subsystem at a front end to a base Station spread             caused by the effective motion of the remote station. The
Spectrum receiver; and                                                  remote Station could be at a fixed location, and the Doppler
   FIG. 7 is a timing diagram of how several base stations              shift in carrier frequency could be caused by time changes
might transmit the BS-channel-Sounding Signal.                          in the propagation path, Such as trees blowing in the wind.
                                                                   25
                                                                        After initial communications, a Costas loop or other fre
           DETAILED DESCRIPTION OF THE                                  quency controlling circuit may be employed to control or
             PREFERRED EMBODIMENTS                                      compensate for frequency changes. Such devices or circuits
                                                                        are well-known in the art.
   Reference now is made in detail to the present preferred               The invention broadly provides an improvement to a
embodiments of the invention, examples of which are illus               spread-spectrum System which has a base station (BS) and
trated in the accompanying drawings, wherein like reference             a plurality of remote stations (RS). The base station has a
numerals indicate like elements throughout the Several                  BS-Spread-spectrum transmitter and a BS-Spread-spectrum
views.                                                                  receiver. The BS-Spread-spectrum transmitter transmits,
   The instant invention disclosed herein provides a novel              using radio waves, a plurality of BS-Spread-spectrum Signals
improvement and method to a spread-spectrum System, and            35   at a first frequency. The BS-Spread-spectrum receiver
more particularly to a cellular Structure or environment with           receives, at a Second frequency, as radio waves, a plurality
each cell containing a base Station communicating with a                of RS-spread-spectrum Signals from the plurality of remote
plurality of remote Stations, using spread-spectrum modu                Stations. The plurality of BS-Spread-spectrum Signals at the
lation. A remote Station might be a hand-held unit or                   first frequency are outside the correlation bandwidth of the
telephone, a connection to a computer or other modem, or           40
                                                                        plurality of RS-spread-spectrum Signals at the Second fre
other device which may be Stationery or in motion.                      quency. Each of the plurality of remote Stations has an
   The base Station is assumed to transmit to the plurality of          RS-spread-spectrum transmitter for transmitting, as a radio
remote Stations at a first frequency. A particular channel              wave, an RS-Spread-spectrum Signal at the Second fre
from the base Station to a remote Station is defined or                 quency.
determined by a particular chip-Sequence Signal, as is well        45     At the base Station, the improvement includes
known in the art for direct-sequence (DS) code-division                 BS-transmitter means, and interference-reduction means.
multiple access (CDMA) systems. The plurality of remote                 The BS-transmitter means transmits, as a radio wave, a
Stations are assumed to transmit to the base Station at a               BS-channel-Sounding Signal at the Second frequency. The
Second carrier frequency. A particular channel from a par               BS-channel-Sounding Signal has a bandwidth which is no
ticular remote Station to the base Station is defined or           50   more than twenty percent of the spread-spectrum bandwidth
determined by a particular chip-Sequence Signal, as is well             of the plurality of RS-Spread-spectrum Signals, and prefer
known in CDMA systems.                                                  ably not more than one percent of the spread-spectrum
   The invention overcomes a major problem with a plurality             bandwidth.
of remote Stations transmitting to a common base Station.                 The interference-reduction means is located at a front end
The plurality of remote stations may be located at different       55   to the BS-spread-spectrum receiver. The interference
distances, and each remote Station may have a different                 reduction means reduces, by cancelling and notch filtering,
propagation path, to the base Station. Thus, even if all the            at the Second frequency, the BS-channel-Sounding Signal
remote Stations transmitted with the same power lever, then             from the plurality of RS-spread-spectrum Signals arriving at
the Spread-spectrum Signal from each remote Station may                 the base Station.
arrive at the base station with a different power level. A         60     While the BS-channel-sounding signal should have a
Strong power level from one remote Station may cause                    bandwidth of no more than one percent of the Spread
sufficient interference to block or inhibit reception of the            Spectrum bandwidth of the RS-spread-spectrum Signal, SyS
Spread-spectrum signal from a more distant remote Station.              temperformance improves Significantly as the bandwidth of
This power problem is commonly known as the “near-far.”                 the BS-channel-Sounding Signal decreases. Preferably, the
problem, or power control problem: How does the Spread             65   BS-channel-Sounding Signal has a bandwidth of no more
Spectrum System control the power transmitted from each                 than one percent, and should not exceed twenty percent, of
remote Station, So that the power received at the base Station          the spread-spectrum bandwidth of the RS-spread-spectrum
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                          Page 10 of 14 PageID 18

                                                     US 6,711,204 B2
                           S                                                                         6
Signal. The BS-channel-Sounding Signal may be a continu                   In FIG. 3, the improvement to the BS-spread-spectrum
ous wave signal, also known as a carrier Signal.                       transmitter is shown. The Signal Source 29 generates the
Alternatively, the BS-channel-Sounding Signal may be                   BS-channel-Sounding Signal. The BS-channel-Sounding Sig
modulated with amplitude modulation (AM), frequency                    nal is combined in combiner 24 with the BS-spread
modulation (FM), phase modulation (PM), or a combination               Spectrum Signal. The BS-Spread-spectrum Signal may be
thereof. Amplitude-shift-keying (ASK) modulation,                      generated, as is well known in the art, by a plurality of
frequency-shift-keying (FSK) modulation or phase-shift                 product devices 16, 17, 18, which multiply a plurality of data
keying (PSK) modulation may be employed. Similarly, a                  Signals d(t), d(t), . . . d(t), by a plurality of chip-Sequence
narrowband spread-spectrum signal could modulate the                   Signals g(t), g(t), . . . g(t). The outputs from the plurality
BS-channel-Sounding Signal. A combination of these modu                of product devices 16, 17, 18 is a plurality of spread-data
lations also could be employed. The modulation in the                  Signals. Typically, the plurality of spread-data Signals is
BS-channel-Sounding Signal can be used for base Station                combined linearly by a combiner 21, to generate a
identification, as well as for other information Such as               combined-spread-data Signal. The combined-spread-data
commercials, Stock quotes, etc.                                        Signal is multiplied by in-phase product device 22 by a
   The bandwidth of the BS-channel-sounding signal is a           15   cosine signal at the first frequency f, and by a quadrature
determinative factor, and a design choice, Since increased             phase product device 23 by a Sine Signal at the first fre
bandwidth will cause increased interference to the plurality           quency f, to generate in-phase and quadrature-phase com
of RS-spread-spectrum Signals, which are at the same fre               ponents of the BS-Spread-spectrum Signal. The in-phase
quency as the BS-channel-Sounding Signal. At a one percent             component of the BS-Spread-spectrum signal and the
bandwidth of the plurality of RS-spread-spectrum signals,              quadrature-phase component of the BS-Spread-spectrum
little degradation in System performance results.
    Each of the plurality of remote Stations includes                  Signal are then combined to make the BS-Spread-spectrum
RS-receiver means, RS-power means and compensating                     Signal which is transmitted from the base Station 12 at the
means. The RS-receiving means receives the BS-channel                  first frequency, by antenna 25. Techniques for generating
Sounding Signal at the Second frequency, and demodulates               Spread-spectrum Signals are well known in the art, and the
the BS-channel-Sounding Signal, and outputs an RS-receiver        25   technique shown in FIG. 3 is only representative.
Signal. RS-power-level means, in response to the received                 The design of Spread-spectrum transmitters is well-known
power level of the BS-channel-Sounding Signal, adjusts an              in the art. Typically, the BS-Spread-spectrum transmitter
initial RS-power level of the RS-spread-spectrum transmit              would be implemented in a digital Signature processor
ter located at the remote Station. In response to the                  (DSP) or application specific integrated circuit (ASIC).
RS-receiver Signal, the compensating means compensates                 Alternative techniques for building a spread-spectrum trans
the Second frequency, for Doppler shift, of the RS-spread              mitter include using a digital matched filter, with the
Spectrum signal of the RS-spread-spectrum transmitter                  matched filter having an impulse response mated to the
located at the remote station. For example, if the carrier             Specific chip-Sequence signal desired for a spread-spectrum
frequency of the received BS-channel-Sounding Signal had a             channel. Alternatively, surface acoustic wave (SAW)
negative Doppler shift from its carrier frequency, as received    35   devices can be used as a matched filter. Further, the plurality
at the remote Station, then the compensating means would               of chip-Sequence Signals can be Stored in a memory, and
impose a positive shift from the designated carrier frequency          each time a particular digital Signal is applied to a memory
on the transmitted RA-spread-spectrum Signal. Due to                   address, and particular chip-Sequence Signal is outputted to
motion of the remote Station or propagation path motions in            the combiner 21. All these techniques, and others, are well
the communications channel, the RS-spread-spectrum Signal         40   known in the art for generating Spread-spectrum Signals.
arrives at the base Station at the corrected carrier frequency,           The Signal Source 29 generates the BS-channel-Sounding
i.e., at the Second frequency. In a preferred embodiment, the          Signal, which may be a simple continuous wave signal, or a
RS-power means is employed to initially Set the transmitter            signal modulated with AM modulation, FM modulation, PM
power of the remote Station. The compensating means may                modulation, ASK modulation, FSK modulation, PSK modul
also be used to correct the transmitter frequency of the          45   lation or spread-spectrum modulation. With modulation, the
RS-spread-spectrum transmitter.                                        BS-channel-Sounding Signal can carry data, Such as signal
    In the exemplary arrangement shown in FIG. 2, the base             ing data or order wire data. Alternatively, the BS-channel
Station 12 is shown communicating, using radio waves, with             Sounding Signal can broadcast to the plurality of remote
a remote Station with frequency compensation. Since the                Stations general information Such as timing, advertisements
BS-channel-Sounding Signal is transmitted, as a radio wave,       50   or commercials, and other information to update the remote
from the base Station 12 at the Second frequency f. to the             Station from the base Station.
remote Station 11, and the remote Station 11 knows at what                FIG. 4 illustratively shows the improvement to the remote
frequency the BS-channel-Sounding Signal is Suppose to be              Station receiver. The RS-spread-spectrum receiver includes
received, then remote Station 11 can determine the Doppler             the spread-spectrum receiver 31, the RF filter 32, and the
frequency shift f, and compensate its transmitter frequency       55   low noise amplifier (LNA) 30, coupled to the antenna 33.
by a similar amount So that the RS-spread-spectrum Signal              The RF filter 32 is coupled between the spread-spectrum
arrives at the base Station 12 with a carrier frequency at the         receiver 21 and the low noise amplifier 30. The components
correct Second frequency f. Thus, the RS-spread-spectrum               for the RS-spread-spectrum receiver are well known in the
Signal is detected at the base Station at the Second frequency         art. For example, the RS-spread-spectrum receiver may be
f, without a Doppler shift in carrier frequency f. If motion      60   embodied as a plurality of product devices and a chip-signal
of the remote Station caused a positive shift in the Doppler           generator, with output lowpass or bandpass filters. The
frequency f, then the correct compensation would be to                 operation of multiplying a received spread-spectrum Signal
Subtract the Doppler shift in carrier frequency f. and trans           by a plurality of chip-Sequence Signals is well known, and
mit at frequency f-f. The remote Station 11 also can                   can be found in many textbooks on the Subject.
measure the power level of the BS-channel-Sounding Signal,        65   Alternatively, the RS-Spread-spectrum receiver may be
and from this measurement, Set its initial power level for             embodied as a plurality of matched filters, which have a
transmitting the RS-Spread-spectrum Signal at frequency f.             plurality of impulse responses matched to the plurality of
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                         Page 11 of 14 PageID 19

                                                    US 6,711,204 B2
                                7                                                                    8
chip-Sequence Signals embedded in the received BS-Spread              to the carrier frequency of the RS-spread-spectrum signal,
Spectrum Signal. The RS-spread-spectrum receiver may be               due to motion of the remote Station.
implemented as an integrated circuit, ASIC, SAW device,                  In FIG. 5, the RS-spread-spectrum transmitter includes a
and may operate at baseband, intermediate frequency or                product device 37 for multiplying a chip-Sequence Signal by
other processing frequency.                                           data to generate a spread-data Signal. For a positive Doppler
   The improvement includes RS-receiver means, which is               shift in carrier frequency of the BS-channel-Sounding Signal,
embodied as demodulator 35. The demodulator 35 is
coupled to low noise amplifier 30, for receiving the                  the spread-data Signal is shifted to a carrier frequency of f.
BS-channel-Sounding Signal at the Second frequency f, or at           f, by product device 38, to generate the RS-spread
the Second frequency plus or minus a Doppler shift f in               Spectrum Signal. For a negative Doppler shift in carrier
carrier frequency from the Second frequency f. The                    frequency of the BS-channel-Sounding Signal, the spread
demodulator 35 may include a tracking filter, phase-locked            data Signal is shifted to a carrier frequency of f-f, by
                                                                      product device 38, to generate the RS-spread-spectrum
loop (PLL) circuit, FM or PM discriminator, spread                    Signal. The RS-spread-spectrum Signal is amplified by
Spectrum receiver, or other circuitry for demodulating the            amplifier 40 and radiated by antenna 41.
BS-channel-sounding signal. The demodulator 35 demodu            15
lates the BS-channel-Sounding Signal, and outputs an                     FIG. 6 shows the improvement to the BS receiver. The BS
RS-receiver signal. The RS-receiver signal is a demodulated           transmitter 24 is connected to a coupler 49, Such as a
version of the received BS-channel-Sounding Signal, and               circulator, which connects to the antenna 25. The antenna 25
may include a power level proportional to a received power            is used in FIG. 6 for transmitting and receiving at the
level of the BS-channel-Sounding Signal, and a frequency              frequency f. The RS-spread-spectrum Signals received from
representation or shift, of the received BS-channel-Sounding          the remote Stations pass through the coupler 49, through the
Signal.                                                               bandpass filter 47 and in to the interference canceller 51. The
   The compensating means is embodied as a frequency                  BS-channel-Sounding Signal from the Signal Source 29
adjust circuit 34, coupled to the RS demodulator 35. In               passes in to the phase-shift attenuator 50. An output of the
response to the RS-receiver Signal, the frequency-adjust         25
                                                                      interference canceller 51 is coupled to an input of the
circuit 34 compensates to the first frequency the RS-spread           phase-shift attenuator 50. The signal from the interference
Spectrum signal of the RS-spread-spectrum transmitter                 canceller 51 adjusts the phase-shift attenuator 50 so as to
located at the remote Station. The frequency-adjust circuit 34        minimize the BS-channel-Sounding Signal level fed in to the
also can provide Doppler information, including Doppler               base Station spread-spectrum receiver 46.
shift in carrier frequency f., by way of a Doppler Signal to             As an option, a notch filter 48 may be coupled between the
the spread-spectrum receiver 31. The frequency-adjust cir             interference canceller 51 and the base Station spread
cuit 34 might include a local oscillator or other Signal              spectrum receiver 46. The notch filter 48 notch filters the
Source, and a comparator circuit. The local oscillator or             interference from the BS-channel-Sounding Signal. An inter
Signal Source from the RS-spread-spectrum transmitter gen             ference canceller 51 with a phase-shift attenuator 50 for
erates a local signal at the Second frequency f. The com         35   reducing interference, in general, is well known in the art.
parator compares the local Signal with the received                   The interference canceller 51 and the phase-shift attenuator
BS-channel-Sounding Signal, or the RS-receiver Signal, to             50 operate in a feedback loop so as to minimize the effect of
determine Doppler Shift in carrier frequency f. A signal              a received signal at the Second frequency f. by effectively
with the Doppler shift in carrier frequency can be used to            feeding a signal from Signal Source at the Second frequency
adjust the transmitter frequency of the RS-spread-spectrum       40   f, 180° out of phase with the received signal.
Signal. Electronic circuits for the comparator and frequency             The present invention may be used in a cellular architec
adjust circuit 34, are well known in the art. The spread              ture having a plurality of base stations. The BS-channel
Spectrum receiver can adjust its oscillator circuit, or the           Sounding Signal may be modulated to identify a particular
frequency-adjust circuit 34 can adjust the frequency of the           base Station. Thus, a remote Station knows with which cell
oscillator for the spread-spectrum receiver 31, thereby com      45   it is in communication by the modulation on the
pensating for Doppler shift in carrier frequency f, due to            BS-channel-Sounding Signal. An alternative may have a
motion.                                                               plurality of base Stations, which cover a large geographic
   The RS-power means may be embodied as a power-adjust               area, transmit their respective BS-channel-Sounding Signal
circuit 36, which is coupled to the output of the demodulator         in a respective time slot, as shown in FIG. 7. During a
35. As shown in FIG. 5, the power-adjust circuit 36 couples      50   particular time slot, a packet may be transmitted by the
to a variable power amplifier 40 of the RS-spread-spectrum            respective base Station. The packet may include no
transmitter. Depending on the power level from the                    information, or identifying information. From the packet, a
BS-channel-Sounding Signal, or RS-receiver Signal, the                remote Station can determine relative power, and Doppler
power-adjust circuit 36 can adjust the output power of the            shift in carrier frequency f, of the particular base Station to
variable power amplifier 40 to a desired level. An equivalent    55   the remote unit.
circuit for the variable power amplifier 40 would be a                  The present invention also includes a method for improv
variable attenuator, which attenuates in response to a power          ing a spread-spectrum System. The Spread-spectrum System
adjust signal.                                                        has at least one base Station and a plurality of remote Stations
   Similarly, the frequency-adjust circuit 34 may couple to           (RS). The base station (BS) has a BS-spread-spectrum
the signal source 39 of the RS-spread-spectrum transmitter.      60   transmitter for transmitting, as radio waves, a plurality of
The frequency-adjust circuit 34 can offset the transmitter            BS-Spread-spectrum Signals at a first frequency. The base
frequency by the Doppler frequency f. So that the                     Station also has a BS-Spread-spectrum receiver for receiving,
RS-spread-spectrum Signal arrives at the base Station 12 at           at a Second frequency, a plurality of RS-spread-spectrum
the correct Second frequency f. By Subtracting the Doppler            Signals from the plurality of remote Stations. The plurality of
frequency f. from the Second frequency f, the transmitter        65   BS-Spread-spectrum signals are assumed to be at the first
frequency of the RS-spread-spectrum Signal shifts back to             frequency outside a correlation bandwidth of the plurality of
the Second frequency f. due to the Doppler frequency added            RS-spread-spectrum Signals at the Second frequency. Each
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                          Page 12 of 14 PageID 20

                                                     US 6,711,204 B2
                              9                                                                     10
of the plurality of remote Stations has an RS-spread                   Spectrum Signals at a first frequency and for receiving, at a
Spectrum transmitter for transmitting an RS-spread                     Second frequency, a plurality of RS-spread-spectrum signals
Spectrum Signal at the Second frequency. The method com                transmitted from Said plurality of remote Stations,
prises the Steps of transmitting, from a BS transmitter,               respectively, the improvement comprising:
located at the base Station, a BS-channel-Sounding Signal at              Said base Station for transmitting a BS-channel-Sounding
the Second frequency. The BS-channel-Sounding Signal has                     Signal at the Second frequency;
a bandwidth no more than twenty percent of the spread                     Said plurality of remote Stations for receiving the
spectrum bandwidth of the plurality of RS-spread-spectrum                    BS-channel-Sounding Signal at the Second frequency,
Signals, and preferably less than one percent of the spread                  with Said base Station for transmitting the plurality of
spectrum bandwidth of the plurality of RS-spread-spectrum                    BS-Spread-spectrum Signals at the first frequency out
Signals. The method includes receiving, at each of the                       side a correlation bandwidth of the plurality of
plurality of remote stations with an RS receiver, the                        RS-spread-spectrum Signals transmitted by the plural
BS-channel-Sounding Signal at the Second frequency, and                      ity of remote Stations at the Second frequency; and
receiving, at each of the plurality of remote Stations with an            Said plurality of remote Stations, responsive to the
RS demodulator, a the BS-channel-sounding signal. The RS          15         BS-channel-Sounding Signal, for adjusting an initial
demodulator outputs an RS-receiver Signal. The method                        RS-power level of said plurality of remote stations.
further includes the Step of compensating, in response to the             4. The improvement as set forth in claim 1, 2, or 3, with
RS-receiver Signal, a frequency-adjust circuit to the first            Said base Station including an interference-reduction Sub
frequency the RS-spread-spectrum Signal of the RS-spread               System for reducing, at the Second frequency, the
                                                                       BS-channel-Sounding Signal from the plurality of
Spectrum transmitter located at the remote Station. The                RS-spread-spectrum Signals arriving at Said base Station.
method may adjust, in response to the RS-receiver Signal, an              5. The improvement as set forth in claim 1, with said base
initial RS-power level of the RS-spread-spectrum transmit              Station for transmitting the BS-channel-Sounding Signal with
ter located at the remote Station. At the base Station, the            a bandwidth no more than twenty percent of the spread
method includes the Step of reducing, at the Second                    spectrum bandwidth of the plurality of RS-spread-spectrum
frequency, the BS-channel-Sounding Signal from the                25   Signals.
RS-spread-spectrum Signal arriving at the base Station.                   6. The improvement as set forth in claim 2, with said base
  The method optionally may further include the step of                Station for transmitting the BS-channel-Sounding Signal with
compensating, in response to RS-receiver Signal, to the first          a bandwidth no more than twenty percent of the spread
frequency the RS-spread-spectrum Signal of the RS-spread               spectrum bandwidth of the plurality of RS-spread-spectrum
Spectrum transmitter located at the remote Station.                    Signals.
   It will be apparent to those skilled in the art that various           7. The improvement as set forth in claim 1, with said base
modifications can be made to the Spread-spectrum channel               Station for transmitting the BS-channel-Sounding Signal with
Sounding improvement of the instant invention without                  a bandwidth no more than twenty percent of the spread
departing from the Scope or Spirit of the invention, and it is         spectrum bandwidth of the plurality of RS-spread-spectrum
intended that the present invention cover modifications and       35   Signals.
Variations of the Spread-spectrum channel Sounding                        8. The improvement as set forth in claim 2, with said base
improvement provided they come within the Scope of the                 Station for transmitting the BS-channel-Sounding Signal with
appended claims and their equivalents.                                 a bandwidth no more than twenty percent of the spread
  I claim:                                                             spectrum bandwidth of the plurality of RS-spread-spectrum
  1. An improvement to a spread-spectrum System having a          40   Signals.
base station and a plurality of remote stations (RS), with said           9. The improvement as set forth in claim 3, with said base
base station (BS) for transmitting a plurality of BS-spread            Station for transmitting the BS-channel-Sounding Signal with
Spectrum Signals at a first frequency and for receiving, at a          a bandwidth no more than twenty percent of the spread
Second frequency, a plurality of RS-spread-spectrum signals            spectrum bandwidth of the plurality of RS-spread-spectrum
transmitted from Said plurality of remote Stations,               45   Signals.
respectively, the improvement comprising:                                 10. The improvement as set forth in claim 1, with said
   Said base Station for transmitting a BS-channel-Sounding            base Station for transmitting the BS-channel-Sounding Signal
      Signal at the Second frequency;                                  with a bandwidth no more than five percent of the spread
                                                                       spectrum bandwidth of the plurality of RS-spread-spectrum
   Said plurality of remote Stations for receiving the            50   Signals.
      BS-channel-Sounding Signal at the Second frequency,                 11. The improvement as set forth in claim 2, with said
      with Said base Station for transmitting the plurality of         base Station for transmitting the BS-channel-Sounding Signal
      BS-Spread-spectrum Signals at the first frequency out            with a bandwidth no more than five percent of the spread
      side a correlation bandwidth of the plurality of                 spectrum bandwidth of the plurality of RS-spread-spectrum
      RS-spread-spectrum Signals transmitted by the plural        55   Signals.
      ity of remote Stations at the Second frequency; and                 12. The improvement as set forth in claim 1, with said
   Said plurality of remote Stations, responsive to the                base Station for transmitting the BS-channel-Sounding Signal
      BS-channel-Sounding Signal, for compensating to the              with a bandwidth no more than five percent of the spread
      Second frequency the respective plurality of RS-spread           spectrum bandwidth of the plurality of RS-spread-spectrum
      Spectrum signals.                                           60   Signals.
   2. The improvement as set forth in claim 1, with said                  13. The improvement as set forth in claim 2, with said
plurality of remote Stations, responsive to the BS-channel             base Station for transmitting the BS-channel-Sounding Signal
Sounding Signal, for adjusting an initial RS-power level of            with a bandwidth no more than five percent of the spread
Said plurality of remote Stations.                                     spectrum bandwidth of the plurality of RS-spread-spectrum
   3. An improvement to a spread-spectrum System having a         65   Signals.
base station and a plurality of remote stations (RS), with said           14. The improvement as set forth in claim 3, with said
base station (BS) for transmitting a plurality of BS-spread            base Station for transmitting the BS-channel-Sounding Signal
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                         Page 13 of 14 PageID 21

                                                    US 6,711,204 B2
                              11                                                                   12
with a bandwidth no more than five percent of the spread                transmitting, from Said base Station, a plurality of
spectrum bandwidth of the plurality of RS-spread-spectrum                  BS-Spread-spectrum Signals at a first frequency;
Signals.                                                                transmitting, from Said plurality of remote Stations, a
   15. The improvement as set forth in claim 1, with said                  plurality of RS-spread-spectrum Signals,
base station including a filter for filtering the BS-channel            receiving, at Said base Station, at a Second frequency, the
Sounding Signal from of the plurality of RS-spread-spectrum
Signals.                                                                   plurality of RS-spread-spectrum Signals transmitted
   16. The improvement as set forth in claim 2, with said                  from Said plurality of remote Stations, respectively;
base station including a filter for filtering the BS-channel            transmitting, from Said base Station, a BS-channel
Sounding Signal from of the plurality of RS-spread-spectrum      1O        Sounding Signal at the Second frequency;
Signals.                                                                receiving, at Said plurality of remote Stations, the
   17. The improvement as set forth in claim 1, with said                  BS-channel-Sounding Signal at the Second frequency;
base station including a filter for filtering the BS-channel               and
Sounding Signal from of the plurality of RS-spread-spectrum
Signals.                                                                 adjusting, at Said plurality of remote Stations, responsive
   18. The improvement as set forth in claim 2, with said        15         to the BS-channel-Sounding Signal, an initial RS-power
base station including a filter for filtering the BS-channel                level of Said plurality of remote Stations.
Sounding Signal from of the plurality of RS-spread-spectrum              26. The improvement as set forth in claim 25, with the
Signals.                                                              Step of transmitting the plurality of BS-Spread-spectrum
   19. The improvement as set forth in claim 2, with said             Signals including the Step of transmitting the plurality of
base station including a filter for filtering the BS-channel          BS-Spread-spectrum Signals at the first frequency outside a
Sounding Signal from of the plurality of RS-spread-spectrum           correlation bandwidth of the plurality of RS-spread
Signals.                                                              Spectrum Signals transmitted by the plurality of remote
   20. The improvement as set forth in claim 2, with said             Stations at the Second frequency.
base station including a filter for filtering the BS-channel             27. The improvement as set forth in claim 21, 22, 23, 24,
Sounding Signal from of the plurality of RS-spread-spectrum      25   25, or 26, further including the Step of reducing, at the
Signals.                                                              Second frequency, the BS-channel-Sounding Signal from the
   21. An improvement to a spread-spectrum method having              plurality of RS-spread-spectrum Signals arriving at Said base
                                                                      Station.
a base station and a plurality of remote Stations (RS),                 28. The improvement as set forth in claim 21, with the
comprising the Steps of:                                              Step of transmitting the plurality of BS-Spread-spectrum
   transmitting, from Said base Station, a plurality of               Signals including the Step of transmitting the BS-channel
      BS-Spread-spectrum Signals at a first frequency;                Sounding Signal with a bandwidth no more than twenty
   transmitting, from Said plurality of remote Stations, a            percent of the spread-spectrum bandwidth of the plurality of
      plurality of RS-spread-spectrum Signals,                        RS-spread-spectrum Signals.
   receiving, at Said base Station, at a Second frequency, the   35     29. The improvement as set forth in claim 22, with the
      plurality of RS-spread-spectrum Signals transmitted             Step of transmitting the plurality of BS-Spread-spectrum
      from Said plurality of remote Stations, respectively;           Signals including the Step of transmitting the BS-channel
   transmitting, from Said base Station, a BS-channel                 Sounding Signal with a bandwidth no more than twenty
      Sounding Signal at the Second frequency;                        percent of the spread-spectrum bandwidth of the plurality of
   receiving, at Said plurality of remote Stations, the          40   RS-spread-spectrum Signals.
      BS-channel-Sounding Signal at the Second frequency;               30. The improvement as set forth in claim 23, with the
     and                                                              Step of transmitting the plurality of BS-Spread-spectrum
   compensating, at Said plurality of remote Stations, respon         Signals including the Step of transmitting the BS-channel
      Sive to the BS-channel-Sounding Signal, to the Second           Sounding Signal with a bandwidth no more than twenty
      frequency, the respective plurality of RS-spread           45   percent of the spread-spectrum bandwidth of the plurality of
      Spectrum signals.                                               RS-spread-spectrum Signals.
   22. The improvement as set forth in claim 21, further                31. The improvement as set forth in claim 24, with the
including the Step of adjusting, at Said plurality of remote          Step of transmitting the plurality of BS-Spread-spectrum
Stations, responsive to the BS-channel-Sounding Signal, an            Signals including the Step of transmitting the BS-channel
initial RS-power level of said plurality of remote stations.     50   Sounding Signal with a bandwidth no more than twenty
   23. The improvement as set forth in claim 21, with the             percent of the spread-spectrum bandwidth of the plurality of
Step of transmitting the plurality of BS-Spread-spectrum              RS-spread-spectrum Signals.
Signals including the Step of transmitting the plurality of             32. The improvement as set forth in claim 25, with the
BS-Spread-spectrum Signals at the first frequency outside a           Step of transmitting the plurality of BS-Spread-spectrum
correlation bandwidth of the plurality of RS-spread              55   Signals including the Step of transmitting the BS-channel
Spectrum Signals transmitted by the plurality of remote               Sounding Signal with a bandwidth no more than twenty
Stations at the Second frequency.                                     percent of the spread-spectrum bandwidth of the plurality of
   24. The improvement as set forth in claim 22, with the             RS-spread-spectrum Signals.
Step of transmitting the plurality of BS-Spread-spectrum                33. The improvement as set forth in claim 26, with the
Signals including the Step of transmitting the plurality of      60   Step of transmitting the plurality of BS-Spread-spectrum
BS-Spread-spectrum Signals at the first frequency outside a           Signals including the Step of transmitting the BS-channel
correlation bandwidth of the plurality of RS-spread                   Sounding Signal with a bandwidth no more than twenty
Spectrum Signals transmitted by the plurality of remote               percent of the spread-spectrum bandwidth of the plurality of
Stations at the Second frequency.                                     RS-spread-spectrum Signals.
   25. An improvement to a spread-spectrum method having         65     34. The improvement as set forth in claim 21, with the
a base station and a plurality of remote Stations (RS),               Step of transmitting the plurality of BS-Spread-spectrum
comprising the Steps of:                                              Signals including the Step of transmitting the BS-channel
Case 3:21-cv-00975-N Document 1-2 Filed 04/30/21                                    Page 14 of 14 PageID 22

                                                US 6,711,204 B2
                           13                                                                  14
Sounding Signal with a bandwidth no more than five percent          39. The improvement as set forth in claim 24, with the
of the spread-spectrum bandwidth of the plurality of              Step of transmitting the plurality of BS-Spread-spectrum
RS-spread-spectrum Signals.                                       Signals including the Step of transmitting the BS-channel
  35. The improvement as set forth in claim 22, with the          Sounding Signal with a bandwidth no more than five percent
Step of transmitting the plurality of BS-Spread-spectrum          of the spread-spectrum bandwidth of the plurality of
Signals including the Step of transmitting the BS-channel         RS-spread-spectrum Signals.
Sounding Signal with a bandwidth no more than five percent          40. The improvement as set forth in claim 21, further
of the spread-spectrum bandwidth of the plurality of              including the Step of filtering the BS-channel-Sounding
RS-spread-spectrum Signals.                                       Signal from of the plurality of RS-spread-spectrum Signals.
  36. The improvement as set forth in claim 23, with the            41. The improvement as set forth in claim 22, further
Step of transmitting the plurality of BS-Spread-spectrum          including the Step of filtering the BS-channel-Sounding
Signals including the Step of transmitting the BS-channel         Signal from of the plurality of RS-spread-spectrum Signals.
Sounding Signal with a bandwidth no more than five percent
of the spread-spectrum bandwidth of the plurality of                42. The improvement as set forth in claim 23, further
RS-spread-spectrum Signals.                                  15   including the Step of filtering the BS-channel-Sounding
  37. The improvement as set forth in claim 24, with the          Signal from of the plurality of RS-spread-spectrum Signals.
Step of transmitting the plurality of BS-Spread-spectrum            43. The improvement as set forth in claim 24, further
Signals including the Step of transmitting the BS-channel         including the Step of filtering the BS-channel-Sounding
Sounding Signal with a bandwidth no more than five percent        Signal from of the plurality of RS-spread-spectrum Signals.
of the spread-spectrum bandwidth of the plurality of                44. The improvement as set forth in claim 25, further
RS-spread-spectrum Signals.                                       including the Step of filtering the BS-channel-Sounding
  38. The improvement as set forth in claim 23, with the          Signal from of the plurality of RS-spread-spectrum Signals.
Step of transmitting the plurality of BS-Spread-spectrum            45. The improvement as set forth in claim 26, further
Signals including the Step of transmitting the BS-channel         including the Step of filtering the BS-channel-Sounding
Sounding Signal with a bandwidth no more than five percent   25   Signal from of the plurality of RS-spread-spectrum Signals.
of the spread-spectrum bandwidth of the plurality of
RS-spread-spectrum Signals.                                                            k   k   k   k   k
